                                                                                                        FILED
                                                                                                      OCT O5 2020
                              UNITED STATES DISTRICT COURT                                        PETER A. MOORE, JR., CLERK
                                                                                                   US DIS~RT, EDNC
                           EASTERN DISTRICT OF NORTH CAROLINA                                    BY_~.,,,.,..~r._ DEP CU<
                                    WESTERN DIVISION

                                           NO. 5:20-CR-377-lM



  UNITED STATES OF AMERICA
                                                                  UNOPPOSED MOTION FOR
        V.                                                      MODIFICATION OF DEFENDANT'S
                                                                    RELEASE CONDITIONS
  JESSE JAMES FREEMAN
                                                                             (UNDER SEAL)



        The Defendant, Jesse James Freeman, by and through counsel, respectfully requests that

his conditions of release be modified based on the following:

    1. On September 30, 2020, Mr. Freeman appeared before United States District Judge Myers .

        for his initial appearance and arraignment, and pled guilty to Count One of the sealed

        criminal information which charged him with violating the Lacey Act, in violation of 16

        U.S.C. §§ 3372(a)(2)(A) and 3373(d)(l)(B).

    2. At the conclusion of his arraignment, Mr. Freeman was released on conditions.

    3. Among other standard conditions ofrelease, Mr. Freeman is prohibited from possessing a

        firearm "or other destructive device."

    4. Mr. Freeman is a bow hunter1, and hunts to provide his family with food for their use

        throughout the year. The hunting season runs from September 12 through January 2.




1 Mr.Freeman advises counsel he hunts with a Barnett Kryptonite Crossbow on private property located directly
behind his home.
                                                        1




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   5. Upon meeting his supervising United States Probation Officer Nathan Bradley to review

       the conditions of release, Mr. Bradley advised Mr. Freeman he would need the conditions

       ofrelease modified to specifically allow him to possess his bow.

   6. United States Probation Officer Nathan Bradley, Mr. Freeman's supervising officer, has

       advised counsel that he does not oppose the requested modification.

   7. Assistant United States Attorney Banu Rangarajan, who represents the government in this

       matter has been contacted and does not oppose the requested modification.

   WHEREFORE and for the foregoing reasons, the Defendant respectfully requests that this

Honorable Court modify the previously imposed release conditions to allow him to possess a bow

for the purposes of hunting.

       Respectfully requested this 5th day of October, 2020.

                                            G. ALAN DuBOIS
                                            Federal Public Defender


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                                   Jff     4)JANA H. PEREIRA                r
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                                            LR 57.1 Counsel
                                            Appointed




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served upon:

BANUMATHIRANGARAJAN
Assistant United States Attorney
150 Fayetteville Street, Suite 2100
Raleigh, NC 27601

and

NATHAN BRADLEY
United States Probation Officer
Salisbury, North Carolina

by e-mail.

       This the 5th day of October, 2020.



                                            DIANA H. PEREIRA
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                                            Attorney for Defendant
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